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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                     )
 UNITED STATES OF AMERICA,                           )
                                                     )
                                                     )
                         v.                          ) Case No. 1:21-cr-175-TJK
                                                     )
 ETHAN NORDEAN, et al.,                              )
                                                     )
         Defendants.                                 )
                                                     )

                    DEFENDANT NORDEAN’S NOTICE OF AUTHORITY

        Defendant Nordean notifies the Court about a recent decision in U.S. v. Christopher

Worrell, 21-cr-292-RCL (D.D.C. 2021). Worrell is a January 6 defendant detained pretrial at the

Correctional Treatment Facility section of the D.C. Jail. He suffers from non-Hodgkin

lymphoma and broke his hand in May. Worrell was unable to receive the standard of care for his

medical health issues for over six months in the D.C. Jail. Today, Judge Lamberth held the

warden of the D.C. Jail and the Director of the D.C. Department of Corrections in civil contempt.

Id., ECF No. 106.

        In the hearing preceding the filing of the contempt order, Judge Lamberth said, “It is

more than just inept and bureaucratic shuffling of papers. I find that the civil rights of the

defendant have been abridged. I don’t know if it’s because he is a January 6 defendant or not,

but I find that this matter should be referred to the attorney general of the United States . . . for a

civil rights investigation.” U.S. judge says D.C. jail violated civil rights of Capitol riot defendant,

Reuters, Oct. 13, 2021, https://www.reuters.com/article/legal-us-usa-capitol-arrests-jail/u-s-

judge-says-d-c-jail-violated-civil-rights-of-capitol-riot-defendant-idUSKBN2H31OS.




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       Here, the government has advised the Court that if Nordean’s motion to reopen bail

proceedings is denied, it will transfer Nordean to the D.C. Jail. The Defendants have also filed a

notice with the Court indicating that multiple individuals have informed them that the

government’s attorneys in this case threatened to transfer Defendant Rehl to the D.C. Jail if he

did not agree to cooperate with the government’s investigation. The government filed a response

saying that this assertion was “false” but providing no explanation of what happened during its

meeting with Defendant Rehl, which apparently occurred in the absence of his counsel of choice.

Dated: October 13, 2021                      Respectfully submitted,

                                             /s/ David B. Smith
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                                     Certificate of Service

       I hereby certify that on the 13h day of October, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
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